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                   EXHIBIT C.1
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                                   CAUSE 1109346841G


SUK BIN KHVI                                                                                     IN THE DISTRICT COURT



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                                                                                                      JUDICIAL DISTRICT


MESA UNDERWRITERS SPECIALTY
INSURANCE COMPANY AND
REUBEN QUINTERO                                                                             HIDALGO COUNTY, TEXAS

                               PLAINTIFF ’8 ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff SUK KIM, ﬁles this Original Petition against MESA UNDERWRITERS

SPECIALTY INSURANCE COMPANY (“‘MESA” or the “INSURANCE DEFENDANT”), and

REUBEN QUINTERO (“REUBEN QUINTERO” 0r “ADJUSTER DEFENDANT” or herein

collectively   as   “DEF ENDANTS”) and in support thereof, would show                                   as   follows:

                                           I.
                              DISCOVERY CONTROL PLAN LEVEL

        Plaintiff intends for discovery to   be conducted under Level 3                              of Rule   190   of the Texas Rules

of Civil Procedure. This case involves complex issues and will require extensive discovery. Therefore,

Plaintiff will ask the Court to order that discovery be conducted in accordance with a discovery control

plan tailored to the particular circumstances   of this suit.

                                                                               11.
                                     PARTIES AND SERVICE

        Plaintiff resides in Hidalgo County, Texas.

        Defendant is in the business    of insurance in                              the State   of Texas. The insurance       business

done by INSURANCE DEFENDANT in Texas includes, but is not limited to, the following:
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        o       The making and issuing         of contracts of insurance with the Plaintiff;

        o       The taking or receiving          of application for   insurance, including the Plaintiff’ 5
                application for insurance;

        0       The receiving or collection of premiums, commissions, membership fees,
                assessments, dues or other consideration for any insurance or any part thereof,
                including any such consideration or payments from the Plaintiff; and

        o       The issuance or delivery of contracts of insurance to residents of this state or a
                person authorized to do business in this state, including the Plaintiff.

        This defendant may be served with personal process, by a process server, by serving its

registered agent Commissioner       of Insurance,   333 Guadalupe St. Tower One Floor 13, Austin, Texas

78701, or wherever else    it may be found.

Defendant, REUBEN QUINTERO, is an individual residing in and domiciled in the State               of Texas.

This defendant may be served with personal process Via personal service at, 3503 Ledgestone,

Houston, Texas 77059 or wherever else he may be found.

                                                      111.
                                     JURISDICTION AND VENUE

        Venue is appropriate in Hidalgo County, Texas because all or part            of the conduct giving

rise to the causes   of action were committed in Hidalgo County, Texas and the Plaintiff and property

which is the subject of this suit are located in Hidalgo County, Texas.

        Accordingly, venue is proper pursuant to Texas Civil Practice & Remedies Code §15 .002.

                                                      IV.
                                                    FACTS

        Plaintiff    is the owner    of   a   Texas Insurance Policy (hereinafter referred to as "the

Policy"), which was issued by INSURANCE DEFENDANT.
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          Plaintiff owns the insured property, which is speciﬁcally located             at 817 W Pecan Blvd,

McAllen, Texas 78504 (hereinafter referred to          as   "the Property").

          INSURANCE DEFENDANT sold the Policy insuring the Property to Plaintiff.

          During the terms of said Policy, on or about January 29, 2016 under Policy No.

CBP20001338200 and Claim N0. 113774-01, Plaintiff sustained covered losses in the form

of Wind and/or hail     damage and damages resulting therefrom, and                  Plaintiff timely reported

same pursuant to the terms        of   the Policy.     Plaintiff asked that INSURANCE DEFENDANT

cover the cost   of repairs   to the Property pursuant to the Policy. However, DEF ENDANTS failed

to conduct a full, fair and adequate investigation              of Plaintiff‘s   covered damages, which is

evidenced by the estimate and report completed by REUBEN QUINTERO and                         fully adopted by

MESA UNDERWRITES SPECIALTY INSURANCE COMPANY.                                    1




          As detailed in the paragraphs below, INSURANCE DEFENDANT wrongfully denied

Plaintiff’s claim for repairs to the Property, even though the Policy provided coverage for

losses such as those suffered by       Plaintiff. Furthermore, INSURANCE DEFENDANT failed

to pay    Plaintiff ’3 claim by not providing full coverage for the        damages sustained by Plaintiff.

          To date, INSURANCE DEFENDANT continues to delay in the payment for the damages

to the Property, which originated in Adjuster Defendant’s failure to effectuate a prompt, fair, and

equitable resolution   of the claim.

          INSURANCE DEFENDANT failed to perform its contractual duty to adequately

compensate       Plaintiff under the terms of their Policy. Speciﬁcally, INSURANCE

DEFENDANT refused to pay the full proceeds of the Policy aﬁer its agent, ADJUSTER

DEFENDANT conducted an outcome-oriented investigation, although due demand was made for


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    See   plaintiffs Exhibit       A, a   true   and    correct copy of          Reuben   Quintero’s
estimate dated March 3' 2016.
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proceeds to be paid in an amount sufﬁcient to cover the damaged property, and all conditions

precedent to recovery under the Policy have been carried out and accomplished by Plaintiff.

INSURANCE DEFENDANT’S conduct constitutes                  a breach    of the   insurance contract between it

and Plaintiff.

        Pleading further, DEFENDANTS misrepresented to Plaintiff that the damage to the

Property was not covered under the Policy, even though the damage was caused by                      a   covered

occurrence. For example, Adjuster Defendant arbitrarily labeled known damage from the

occurrence       as   old damage although no scientiﬁc testing was completed to reach this

conclusion.2 DEFENDANT’S INS. CODE                §   541.060(a)(1).

        DEFENDANTS failed to make an attempt to settle Plaintiff’s claim in                   a   fair manner,

although it was aware of its liability to Plaintiff under the Policy. Their conduct constitutes                 a


Violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

§541.060(a)(2)(A).

        INSURANCE DEFENDANT failed to explain to Plaintiff any valid reason for its coverage

denial and offer       of   an inadequate settlement.    Speciﬁcally, it failed to offer Plaintiff full

compensation, Without any valid explanation Why          full payment was not being      made. Furthermore,

INSURANCE DEFENDANT did not communicate that any future settlements or payments would

be forthcoming to pay for the entire loss covered under the Policy, nor did         it provide any explanation

for the failure to adequately settle Plaintiffs claim. INSURANCE DEFENDANT conduct is                           a


Violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(3).

        INSURANCE DEFENDANT failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff’s claim, beginning an investigation                      of Plaintiff’s
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claim, and requesting all information reasonably necessary to investigate Plaintiff’s claim within

the statutorily mandated time of receiving notice of Plaintiff’s claim. Its conduct constitutes

a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.055.

       Further, INSURANCE DEFENDANT failed to accept or deny Plaintiff’s full and

entire claim within the statutorily mandated time of receiving all necessary information. Its

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.

TEX. INS. CODE §542.056.

       INSURANCE DEFENDANT failed to meet its obligations under the Texas Insurance Code

regarding payment of claims without delay. Specifically, it has delayed full payment of

Plaintiff’s claim and, to date, Plaintiff has not received full payment for the claim. Its conduct

constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS.

CODE §542.058.

       From and after the time Plaintiff’s claim was presented to INSURANCE

DEFENDANT, its liability to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, it has refused to pay Plaintiff in full, despite there being no basis

whatsoever upon which a reasonable insurance company would have relied to deny the full

payment. INSURANCE DEFENDANT’S conduct constitutes a breach of the common law duty

of good faith and fair dealing.

       Additionally, INSURANCE DEFENDANT knowingly or recklessly made false

representations, as described above, as to material facts and/or knowingly concealed all or part of

material information from Plaintiff.




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         Because   of INSURANCE DEFENDANT’S wrongful                         acts and omissions,          Plaintiff

was forced to retain the professional services                of the attorney and law firm who is

representing Plaintiff with respect to these causes       of action.

                                                     V.

              CAUSES OF ACTION AGAINST INSURANCE DEFENDANT

A.       BREACH OF CONTRACT

         INSURANCE DEFENDANT’S conduct constitutes                     a    breach   of the insurance contract

between it and Plaintiff. Defendant’s failure and/or refusal,          as   described above, to pay Plaintiff

adequate compensation as it is obligated to do under the terms                of the Policy in question,         and

under the laws     of the   State   of   Texas, constitutes a breach        of the insurance contract with

Plaintiff.

B.       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:

         1.    UNFAIR SETTLEMENT PRACTICES

         INSURANCE DEFENDANT’S conduct constitutes multiple Violations of the Texas

Insurance Code, Unfair Settlement Practices: TX. INS. CODE §541.060(a).                   All Violations under this

article are made actionable by TEX. INS. CODE §541.151.

         INSURANCE DEFENDANT’S unfair settlement practice,                           as    described above,        of

misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair

method   of competition     and an unfair and deceptive act or practice in the business             of insurance.

TEX. INS. CODE §541.060(a)(1).
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       INSURANCE DEFENDANT’S unfair settlement practice, as described above, of

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

even though its liability under the Policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(a)(2)(A).

       INSURANCE DEFENDANT’S unfair settlement practice, as described above, of

refusing to pay Plaintiff’s claim without conducting a reasonable investigation, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(a)(7).

       2.      THE PROMPT PAYMENT OF CLAIMS

       INSURANCE DEFENDANT’S conduct constitutes multiple violations of the Texas

Insurance Code, Prompt Payment of Claims. All violations made under this article are made

actionable by TEX. INS. CODE §542.060.

       INSURANCE DEFENDANT’S failure to acknowledge receipt of Plaintiff’s claim,

commence investigation of the claim, and request from Plaintiff all items, statements, and forms

that it reasonably believed would be required within the applicable time constraints, as

described above, constitutes a non-prompt payment of claims and a violation of TEX. INS. CODE

§542.055.

       INSURANCE DEFENDANT’S failure to notify Plaintiff in writing of its acceptance or

rejection of the claim within the applicable time constraints constitutes a non-prompt payment

of the claim. TEX. INS. CODE §542.056.




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         INSURANCE DEFENDANT’S delay ofthe payment of Plaintiff’s claim following its

receipt of all items, statements, and forms reasonably requested and required, longer than the

amount      of time provided for,   as   described above, constitutes a non-prompt payment          of the claim.

TEX. INS. CODE §542.058.

C.       BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

         INSURANCE DEFENDANT’S conduct constitutes                       a   breach   of the common law duty of

good faith and fair dealing owed to insureds pursuant to insurance contracts.

         INSURANCE DEFENDANT’S failure,                    as   described above, to adequately and reasonably

investigate and evaluate Plaintiffs claim, although, at that time, it knew or should have known by

the exercise    of reasonable diligence that its liability was reasonably         clear, constitutes a breach     of

the duty    of good faith and fair dealing.

                                                      VI.
                    CAUSES OF ACTION AGAINST ADJUSTER DEFENDANT

A.       NONCOMPLIANCE WITH TEXAS INSURANCE CODE

         Plaintiff re-alleges the foregoing paragraphs.                 At all pertinent times, REUBEN

QUINTERO, the ADJUSTER DEFENDANT, was engaged in the business of insurance as deﬁned

by the Texas Insurance Code. The acts and omissions of the ADJUSTER DEFENDANT and the

agents constitute one or more Violations          of the   Texas Insurance Code. More speciﬁcally, the

ADJUSTER DEFENDANT has, among other Violations, violated the following provisions of the

Code:

               1.   Insurance Code   §   542.003(b)(5) and 28 TAC 21.203(5).

              2.    Insurance Code chapter 541, section 541.060 by, among other things:

        0     misrepresenting one or more material facts and/or policy provisions relating to
              coverage;
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         o   failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of
             a claim with respect to which their liability has become reasonably clear;


         0   failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of
             a claim under one portion of a policy with respect to which liability has become
             reasonably clear in order to inﬂuence Plaintiff to settle the claim with respect to another
             portion of the policy;

         0   failing to promptly provide     a reasonable   explanation of the basis in law or fact for the
             denial of Plaintiff’s claims;

         0   reﬁlsing to afﬁrm or deny coverage Within        a reasonable   time;

         o   reﬁlsing to conduct   a reasonable   investigation;

         0   ignoring damage known to be covered by the Policy; and/or

         0   conducting an outcome-oriented investigation in order to provide INSURANCE
             DEFENDANT with a basis to underpay the claim.

         The foregoing paragraphs are incorporated herein. The INSURANCE DEFENDANT

assigned the loss and the claim to     who was at all pertinent times the agent of the INSURANCE

DEFENDANT, through both actual and apparent authority. The acts, representations and

omissions    of the ADJUSTER DEFENDANT             are attributed to the   INSURANCE DEFENDANT.

         ADJUSTER DEFENDANT inspected Plaintiffs property on or about January 21, 2016.3

During the inspection, ADJUSTER DEFENDANT was tasked with the responsibility of

conducting   a   thorough and reasonable investigation of Plaintiffs claim, including determining the

cause   of and then quantifying all of the damage done to Plaintiffs property. During the inspection,

ADJUSTER DEFENDANT ignored covered damages to the Property and refused to address all

of   the damages caused by the loss.         Speciﬁcally, REUBEN QUINTEROS, ignored covered

damages including but not limited to the main house roof, interior and exterior damages sofﬁt,

fascia, ofﬁce 1, room 2, main room, and bathroom. Subsequent to the inspection, ADJUSTER
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DEFENDANT prepared a repair estimate, completed on or about March 22, 2016, which vastly

under-scoped the actual covered damages to the property, thus demonstrating ADJUSTER

DEFENDANT did not conduct a thorough investigation of the claim.

       Despite having been assigned the claim, and despite being given authority and instructions

to inspect, adjust and evaluate the claim, the ADJUSTER DEFENDANT failed and refused to

properly adjust the claim. The ADJUSTER DEFENDANT failed to properly inspect the property

and the damages, failed to request information, failed to adequately investigate the claim, failed to

respond to requests for information from the Plaintiff, failed to timely evaluate the claim, failed to

timely and properly estimate the claim, and failed to timely and properly report to the

INSURANCE DEFENDANT and make recommendations to the INSURANCE DEFENDANT to

address all the covered damages.

       The Plaintiff provided information regarding the loss and the claim to the ADJUSTER

DEFENDANT. The Plaintiff allowed the ADJUSTER DEFENDANT full and complete access to

the property. The Plaintiff provided sufficient information to the ADJUSTER DEFENDANT to

adjust and evaluate the loss. The Plaintiff made inquiries regarding the status of the loss and

payment, but the ADJUSTER DEFENDANT failed and refused to respond to the inquiries and

failed to properly adjust the claim and the loss. As a result of the ADJUSTER DEFENDANT’S

inadequate and outcome-oriented investigation, to date, Plaintiff has not received full payment for

the claim.

       The ADJUSTER DEFENDANT’S actions were negligent, reckless, willful and intentional,

and were the proximate and producing cause of damages to the Plaintiff.




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        Where statements were made by the ADJUSTER DEFENDANT, Plaintiff reasonably

relied upon them. As         a   result   of the foregoing conduct, which was   and is the producing cause(s)

of injury   and damage to Plaintiff,          Plaintiff has suffered damages including, without limitation,

actual damages, economic damages, and consequential damages. Moreover, one or more                            of the

foregoing acts or omissions were “knowingly” made, entitling Plaintiff to seek treble damages

pursuant to the Insurance Code.




        Each

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                  of the

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                           acts described above, together and singularly, was done

                           that term is used in the Texas Insurance Code, and was           a
                                                                                                "knowingly" by

                                                                                                producing cause

of Plaintiff’ s   damages described herein.

                                                        VIII.
                                                     DAMAGES

        Plaintiff would show that all of the aforementioned               acts, taken together or singularly,

constitute the proximate and producing causes            of the damages   sustained by Plaintiff.

        As previously mentioned, the damages caused by the covered losses have not been

properly addressed or repaired in the months since the loss occurred, causing further damage to the

Property, and causing undue hardship and burden to Plaintiff. These damages are a direct result                    of

DEF EN DAN TS’ mishandling of Plaintiff ’5 claim in Violation              of the   laws set forth above.

        For breach of contract, Plaintiff is entitled to regain the beneﬁt of the bargain, which

is the amount     of the claim, together with attorney's        fees.

        For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss             of the beneﬁts that should     have been paid

pursuant to the policy, court costs, and attorney's fees.




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For knowing conduct of the acts described above, Plaintiff asks for three times the actual

damages. TEX. INS. CODE §541.152.

       For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,

Plaintiff is entitled to the amount of Plaintiff’s claim, as well as eighteen (18) percent interest per

annum on the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

§542.060.

       For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, losses due to nonpayment of the amount the insurer owed, and

exemplary damages.

       For the prosecution and collection of this claim, Plaintiff has been compelled to

engage the services of the attorney whose name is subscribed to this pleading . Therefore,

Plaintiff is entitled to recover a sum for the reasonable and necessary services of Plaintiff’s

attorney in the preparation and trial of this action, including any appeals to the Court of Appeals

and/or the Supreme Court of Texas.

                                                 IX.

       In addition, as to any exclusion, condition, or defense pled by DEFENDANTS, Plaintiff

would show that:

       The clear and unambiguous language of the policy provides coverage for damage caused

by losses made the basis of Plaintiff’s claim, including the cost of access to fix the damages;

       In the alternative, any other construction of the language of the policy is void as against

public policy;




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       Any other construction and its use by the DEF EN DAN TS Violate the Texas Insurance Code

section 541 et. seq. and is void as against public policy;

       Any other construction violates Art. 17.50 of the Texas Business and Commerce Code and

is unconscionable and is void as against public policy and was procured by fraudulent inducement;

       Any other construction is otherwise void as against public policy, illegal, and violates state

law and administrative rule and regulation.

       In the alternative, should the Court ﬁnd any ambiguity in the policy, the rules of

construction of such policies mandate the construction and interpretation urged by Plaintiff;

       1n the   alternative, DEFENDANTS are judicially, administratively, or equitably estopped

from denying Plaintiffs construction of the policy coverage at issue;

       In the alternative, to the extent that the wording of such policy does not reﬂect the true

intent of all parties thereto, Plaintiff pleads the doctrine of mutual mistake requiring information.

                                             X.
                                   REQUEST FOR DISCLOSURES

       Pursuant to the Texas Rules    of Civil Procedure   194,   Plaintiff requests that DEFENDANTS

provide the information required in    a Request   for Disclosure.

                                 XI.
         FIRST REQUEST FOR PRODUCTION TO INSURANCE DEFENDANT

        1)   Produce the INSURANCE DEFENDANT’S complete claim ﬁle (excluding all
             privileged portions) in your possession for Plaintiff’s property relating to or arising out
             of any damages caused by the loss for which INSURANCE DEFENDANT opened a
             claim under the Policy. Please produce a privilege log for any portions withheld on a
             claim of privilege.

       2) Produce all non-privileged emails and other forms of communication between
          INSURANCE DEFENDANT, its agents, adjusters, employees, or representatives and
          the adjuster, and/or their agents, adjusters, representatives or employees relating to,
          mentioning, concerning 0r evidencing the Plaintiff’s property which is the subject of
          this suit.




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       3) Produce any complete claim ﬁle (excluding all privileged portions) in the
          INSURANCE DEFENDANT’S possession for the Plaintiff/insured and/or for the
          Plaintiffs property as listed in the Plaintiffs Original Petition, relating to or arising
          out of any claim for damages which INSURANCE DEFENDANT opened a claim
          under any policy. Please produce a privilege log for any portions Withheld on a claim
            ofprivilege.


                                                  XII.
            FIRST REQUEST FOR PRODUCTION TO ADJUSTER DEFENDANT

       1)   Produce ADJUSTER DEFENDANT’S complete claim or adjusting ﬁle for Plaintiff’s
            property. Please produce a privilege log for any portions Withheld on a claim of
            privilege.

       2) Produce all emails and other forms of communication between INSURANCE
          DEFENDANT, its agents, adjusters, employees, or representatives and the ADJUSTER
          DEFENDANT, and/or their agents, adjusters, representatives or employees relating to,
          mentioning, concerning or evidencing the Plaintiffs property which is the subject of
          this suit. This includes any correspondence or communications related to the Plaintiff’s
          property, Whether related to this claim or any other claim in the INSURANCE
          DEFENDANT’S possession. Please produce a privilege log for any items withheld on
            a   claim of privilege.

                                                  Xlll.
       As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff‘s counsel states that

the damages sought are in an amount within the jurisdictional limits      of this Court. As required by

Rule 47(c), Texas Rules     of Civil Procedure, Plaintiff’s counsel states that Plaintiff seeks monetary

relief, the maximum of which is over $100,000 but not more than $200,000. The amount of

monetary relief actually awarded, however,      will ultimately be determined by a jury. Plaintiff also

seeks pre-judgment and post-judgment interest at the highest legal rate.




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                                                     XIV.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that DEFENDANTS be cited

to appear and answer herein; that, on ﬁnal hearing, Plaintiff have judgment against DEFENDANTS

for an amount, deemed to be just and fair by the jury, which will be     a sum   within the jurisdictional

limits of this Court; for costs of suit; for interest on the judgment; for pre-judgment interest; and, for

such other and further relief, in law or in equity, either general or special, including the non-

monetary relief of declaratory judgment against the INSURANCE DEFENDANT, to which

Plaintiff may be justly entitled.

                                                Respectfully submitted,

                                                KETTERMAN ROWLAND & WESTLUND
                                                16500 San Pedro, Suite 302
                                                San Antonio, Texas 78232
                                                Telephone:    (210) 490-7402
                                                Facsimile:       (210) 490-8372


                                        BY:     /s/Jake S. Rogiers
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                                                Jake S. Rogiers
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                                                 ake@krwlawlayers.com
                                                1'




                                                ATTORNEYS FOR PLAINTIFF


                           PLAINTIFF REQUESTS A TRIAL BY JURY




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